       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 1 of 29



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                11/13/21
PLAYBOY ENTERPRISES INTERNATIONAL, INC.,

                Plaintiff,                           21 Civ. 8932 (VM)

           -against-                                 ORDER

WWW.PLAYBOYRABBITARS.APP;
WWW.PLAYBOYRABBIT.COM; VOZGEN ZOLO and
JOHN DOES OWNERS/OPERATORS OF THE
COUNTERFEIT WEBSITES,

                Defendant.



VICTOR MARRERO, United States District Judge.

     On November 10, 2021, Plaintiff in the above captioned matter

submitted a letter providing the Court with an update on service,

and its failed efforts to communicate with Defendants regarding a

proposed   briefing    schedule   (See   Attached   Letter.)   Defendants

having been served, and upon Plaintiff’s request to unseal the

matter, the Court determines that the matter need not remain under

seal. On November 12, 2021, at 9:30 a.m., the Court held a hearing

on Plaintiff’s motion for a preliminary injunction, at which point

Defendants failed to appear. Accordingly, the Court respectfully

requests that the Clerk of Court unseal this case in its entirety

and place all filed documents on to the public docket.
         Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 2 of 29



SO ORDERED.

Dated:      New York, New York
            November 13, 2021
           Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 3 of 29

                                                                    VENABLE LLP ~ 1270 AVENUE OF THE AMERICAS

 VENABLE                                                            24TH FLOOR ~ NEW YOflK, NY 10020
                                                                    T +1 212.307.5500 F+1 212.307.5598 Venable.com




 November 10, 2021                                                   T 212.370.6289
                                                                     F 212.307.5598
                                                                     MBallazd@Venable.com



*UNDER SEAL
FILED IN-PERSON
Hon. Victor Marrero
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St. New York, NY 10007-1312

Re: Playboy Enterprises International,Inc. v. www.playboyrabbitars.app, et al., U.S. District
    Court Southern District of New York - *SEALED CASE* - Civ. No. 21-cv-08932

Dear Judge Marrero:

       We represent Plaintiff Playboy Enterprises International, Inc. ("Plaintiff') and write to
provide the Court with an update pursuant to the Court's November 2, 2021 Order("Order"). First,
we have served the Defendants and third parties pursuant to the Order and include the Affidavit of
Service relating to service as Exhibit A hereto. Second,Plaintiffhas not heard from any Defendants
and thus will be providing a unilateral report on the proposed briefing schedule and upcoming
hearing scheduled for November 12,2021 as detailed below.

       Plaintiffs served Defendants on November 8,2021 pursuant to the Order. Plaintiff's counsel
has not received any correspondence from any of the Defendants and accordingly we could not
confer with the Defendants or any of their representatives to submit a joint update to the Court or a
proposed briefing schedule. Per the Court's Order,Plaintiff advises the Court that it believes that the
case no longer needs to be under seal at this time as the Defendants have been served as well as the
relevant third parties.

        Plaintiff is prepared to request at the November 12, 2021 hearing that the Court confirm its
seizure order and convert the temporary restraining order in this case to a preliminary injunction. At
that time Plaintiff will also request that the security for the seizure order be released, and that the
security for the temporary restraining order be converted to security for a preliminary injunction.

                                               Respectfully Submitted,

                                                      r

                                               Marcella Ballard

                                               VENABLE LLP
                                               Attorneys for PlaintiffPlayboy Enterprises
                                               International, Inc.
Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 4 of 29




          EXHIBIT A
        Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 5 of 29




IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



PLAYBOY ENTERPRISES
INTERNATIONAL,INC.,
                                                               Civil Action No. 21-cv-08932
                                 Plaintiff,
                                                              FILED UNDER SEAL
        v.
 WWW.PLAYBOYRABBITARS.APP,et al..
                                 Defendants.




                                      AP'I'IDAVIT OF SERVICE

I, Maria Sinatra, swear and state as follows:

    1. I am over the age of eighteen (18)and am competent to attest to this Declaration.

   2. I have personal knowledge of the facts set forth herein, and if called to testify, I could and

would testify competently hereto.

    3. I am an attorney at Venable, LLP, counsel of record for the Plaintiff Playboy Enterprises

International, Inc. in this action.

    4. Pursuant to the Court's order granting alternative service via email or other electronic

means and/or by overnight courier, I served the Defendants via email on November 8, 2021.

Details of that service of process are below.

    5. On November 8, 2021, I served a copy of the following materials on the Defendants) via

email requesting delivery and read receipts:




'www.pla~vrabbitars.app, www.plavbovrabbit.com, Vozgen Zolo, and John Does
Owners/Operators of the Counterfeit Websites (collectively "Defendants").
        Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 6 of 29




            a. Complaint
                       i. Complaint Exhibits 1-8
            b. Plaintiff's Ex Parte Motion for Order Sealing Record
                       i. Proposed Order Granting Motion to Seal
            c. Plaintiff's Emergency Ex Parte Application for Temporary Restraining Order and
                Additional Relief
                       i. Memorandum of Law in Support of Ex Parte Application
                      ii. Proposed Order Granting Emergency Ex Parte Motion for Temporary Restraining
                          Order and Additional Relief
            d. Declaration of Marcella Ballard in Support of Plaintiff's Emergency Ex Parte Motion and
                Exhibits A, and B
            e. Declaration of Sid Nasr in Support of Plaintiff's Emergency Ex Parte Motion
            f. Declaration of Jennifer McCarthy in Support of Plaintiff's Emergency Ex Parte Motion
            g. Order Granting Ex Parte Relief and Order to Show Cause Setting Hearing
            h. Scheduling Order from Court Re-Scheduling Order to Show Cause Hearing to Nov. 12,
                2021
            i. Rule 7.1 Corporate Disclosure Statement for Plaintiff Playboy Enterprises International,
                I nc.
            j. AO 120 Form Report on Filing of Action Regarding a Trademark
            1<. Summonses Issued By the Clerl< of the Court

   6. The text of each email read substantially as follows:

Dear Sir or Madam:

           You have been named as a defendant in a complaint filed by Playboy Enterprises International,
I nc. ("Plaintiff") in the United States District Court for the Southern District of New York. Pursuant to the
Order granting Plaintiff's Motion for Ex Parte Temporary Restraining Order and Other Relief (enclosed
within link), the Court has permitted service in this matter via email and overnight courier, among other
means. You are hereby served with the following documents accessible via this link:
https://venable.sharefile.com/d-s690f396ab2dc48fd9c4a890e59446afe

    1. Complaint
            a. Complaint Exhibits 1-8
    2. Plaintiff's Ex Parte Motion for Order Sealing Record
            a. Proposed Order Granting Motion to Seal
    3. Plaintiff's Emergency Ex Parte Application for Temporary Restraining Order and Additional Relief
            a. Memorandum of Law in Support of Ex Parte Application
            b. Proposed Order Granting Emergency Ex Parte Motion for Temporary Restraining Order
                 a nd Additional Relief
    4. Declaration of Marcella Ballard in Support of Plaintiff's Emergency Ex Parte Motion and Exhibits
        A,and6
    5. Declaration of Sid Nasr in Support of Plaintiff's Emergency Ex Parte Motion
    6. Declaration of Jennifer McCarthy in Support of Plaintiff's Emergency Ex Parte Motion
    7. Order Granting Ex Parte Relief and Order to Show Cause Setting Hearing
    8. Scheduling Order from Court Re-Scheduling Order to Show Cause Hearing to Nov. 12, 2021
    9. Rule 7.1 Corporate Disclosure Statement for Plaintiff Playboy Enterprises International, Inc.
    10. AO 120 Form Report on Filing of Action Regarding a Trademark

                                                       2
         Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 7 of 29




    11. Summonses Issued By the Clerk of the Court

     Please tale notice that the U.S. District Court for the Southern District of New Yorl< granted Playboy
Enterprises International, Inc.'s Motion for a Temporary Restraining Order on November 2, 2021. A copy
of the order—which you must fully comply with —along with all supporting documents, are accessible
via the link above. The Court then issued a modified scheduling order on November 5, 2021 moving the
Order to Show Cause Hearing to November 12, 2021 at 9:30 AM EST. The documents are available via
the above link until March 8, 2022. Please confirm receipt of this e-mail, and please let us know
i mmediately if you have any trouble accessing the linked documents. If we do not hear from you, we
will assume you were able to access the linked documents without any trouble.

         I n particular, please pay attention to the attached (1) Summonses) issued in your name(s), and
(2) Orders granting (i) Ex Parte Temporary Restraining Order and Additional Relief, and (ii) scheduling
order setting a hearing date of November 12, 2021 at 9:30 AM Eastern Standard Time. These Orders
 require your immediate attention, in that they require you to tale and refrain from certain activities,
 a mong other things. Violation of these Orders, and failure to appear at the November 12, 2021 hearing,
could result in adverse action being taken against you.

Sincerely,

M aria Sinatra

Maria R. Sinatra, Esq. ~ Venable LLP
t 212.370.6247 ~ f 212.307.5598
Rockefeller Center, 1270 Avenue of the Americas, 24th Floor, New York, NY 10020

 MRSinatra(a)Venable.com ~ www.Venable.com


                  A list of Defendants' email addresses that were served by me on November 8,

2021 is attached as Exhibit A.

                  True and correct copies of the delivery receipts I received from the service emails

 I sent ace attached within Exhibit B attached hereto.

         9.        I received an undeliverable receipt from the email ulomsky_pavel(cr~,mail.ru.
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 8 of 29




      I swear under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed on November 9, 2021
                                                           ~,


                                                         MARIA SINATRA




                                                4
Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 9 of 29




                   EXHIBIT A
   Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 10 of 29




1. dimariasharona 1993na,hotmail.com

                    e,outlook.com
2. lomasche~pke19931(

3. ellenarueh119932~a~,outlook.com

4. jemmyyore199961(ce,outlook.com

5. kundananifortune_1999(a~hotmail.com

6. louanndetten 1998054(a,hotmail.com

7, houskeeperdaisX 2002 ct,hotmail.com

8. dubrowchannin~1996(a~hotmail.com

9. rosanerossie 1997(a~hotmail.com

10. liparilceshaun 2002(cr~,hotmail.com

1 1. judahhousholder20000(a~hotmail.com

12. Yoshida~riffin 1993(a~hotmail.com

            eo
13. madding~ffrey 1993(c~hotmail.com

14. drvmonbalfour 1998na,hotmail.com

15. parlatodexter 1998(c~hotmail.com

16. idelltranter200159(a,hotmail.com

 1 7. 1innetteeye2002916(c~hotmail.com

 18. 68232f5026b54abfb5f564d45faceaed.protect(a~withheldforprivacv.com

 19. ulomskvpavel(a,mail.ru




                                          D
Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 11 of 29




                   EXHIBIT B
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 12 of 29




From:           Microsoft Outlook
To:             dimariasharona 1993(alhotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v, www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Playboy Enterprises International Inc. v. www.plavboyrabbitars.ao~ Case No. 21-cv-
                08932(VM)SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
dimariasharona 1993@hotmail,com (dimariasharona_1993@hotmail.com)
<mailto:dimariasharona 1993@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 13 of 29




From:           Microsoft Outlook
To:             IomascheRoke19931Caloutlook.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.nlavbovrabbitars.aAp Case No. 21-cv-
                08932(VMl SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
lomaschepplce19931@outlook.com (lomascheppke19931@outloolc.com)
<mailto:lomaschepplce19931@outloolc.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 14 of 29




From:           Microsoft Outlook
To:             ellenarueh119932Ca~outlook.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v, www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Playboy Enterprises International Inc. v. www. nIavboyrabbitars.anp Case No. 21-cv-
                08932(VMl SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
ellenarueh119932@outlook.com (ellenarueh119932@outlook.com)
<mailto:ellenarueh119932@outloolc.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 15 of 29




From:           Microsoft Outlook
To:             jemmyyore199961Caloutlook.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments;    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.playboyrabbitars.aon Case No. 21-cv-
                08932(VM)SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
jemmyyore199961@outloolc.com (jemmyyorel99961@outloolc.com)
<mailto:jemmyyore199961@outlook.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 16 of 29




From:           Microsoft Outlook
To:             kundananifortune 1999C1a hotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENIZAL- Plavbov Enterprises International Inc. v. www.playboyrabbitars.app Case No. 21-cv-
                08932 lVM)SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
kundananifortune 1999@hotmail.com (kundananifortune_1999@hotmail.com)
<mailto:kundananifortune 1999@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www,playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 17 of 29




From:           Microsoft Outlook
To:             Iouanndetten1998054C1a hotmail,com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www,playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.playboyrabbitars.apo Case No. 21-cv-
                08932(VMl SEALED CASE -Service of Process Court Order.msq


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
louanndetten1998054@hotmail.com (louanndetten1998054@hotmail.com)
<mailto:louanndetten1998054@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 18 of 29




From:           Microsoft Outlook
To:             houskeeperdaisy 2002Calhotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments;    URGENT CONFIDENTIAL- Playboy Enterprises International Inc. v. www.olaybovrabbitars.a~o Case No. 21-cv-
                08932(VMl SEALED CASE -Service of Process Court Order.msg


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
houslceeperdaisy_2002@hotmail.com (houskeeperdaisy_2002@hotmail.com)
<mailto:houslceeperdaisy_2002@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 19 of 29




From:           Microsoft Outlook
To:             dubrowchannina 1996Ca~hotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.olayboyrabbitars.app Case No. 21-cv-
                08932 IVMI SEALED CASE -Service of Process Court Order.msq


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
dubrowchanning_1996@hotmail.com (dubrowchanning_1996@hotmail.com)
<mailto:dubrowchanning_1996@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 20 of 29




From:           Microsoft Outlook
To:             rosanerossie 1997Calhotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No, 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.~Iayboyrabbitars.aoo Case No. 21-cv-
                08932(VMl SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
rosanerossie_1997@hotmail.com (rosanerossie_1997@hotmail.com)
<mailto:rosanerossie 1997@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 21 of 29




From:           Microsoft Outlook
To:             lioarikeshaun 2002Calhotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc, v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.playboyrabbitars.app Case No. 21-cv-
                08932(VM~SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
liparikeshaun 2002@hotmail.com (liparilceshaun 2002@hotmail.com)
<mailto;liparikeshaun 2002@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 22 of 29




From:           Microsoft Outlook
To:             judahhousholder20000Calhotmail.com
Subject:        Relayed: URGENT & CONFIDEMIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.olavboyrabbitars.a~o Case No. 21-cv-
                08932(VMl SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
judahhousholder20000@hotmail.com (judahhousholder20000@hotmail.com)
<mailto:judahhousholder20000@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 23 of 29




From:           Microsoft Outlook
To:             yoshidaariffin 1993Ca~hotmail.com
Subject:        Relayed; URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc, v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments.    URGENT CONFIDENTIAL- Playboy Enterprises International Inc. v. www.plavboyrabbitars.apo Case No. 21-cv-
                08932(VM)SEALED CASE -Service of Process Court Order.msg


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
yoshidagriffin_1993@hotmail.com (yoshidagriffin_1993@hotmail.com)
<mailto:yoshidagriffin_1993@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Count Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 24 of 29




From:           Microsoft Outlook
To:             maddinaaeoffrey 1993(a~hotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 6:25:15 PM
Attachments:    URGENT CONFIDENTIAL- Playboy Enterprises International Inc. v. www.olavboyrabbitars.app Case No. 21-cv-
                08932 fVMI SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
maddinggeoffrey_1993@hotmail.com (maddinggeoffrey_1993@hotmail.com)
<mailto:maddinggeoffrey_1993@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 25 of 29




From:           N]icrosoft Outlook
To:             drvmonbalfour 1998(o~hotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Playboy Enterprises International Inc. v. www.playboyrabbitars.apo Case No. 21-cv-
                08932 IVMI SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
drymonbalfour 1998@hotmail.com (drymonbalfour 1998@hotmail.com)
<mailto:drymonbalfour 1998@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 26 of 29




From:           Microsoft Outlook
To:             oarlatodexter 1998Ca)hotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc, v. www.playboyrabbitars.app, Case
                No. 21-cv-08932(VM)*SEALED CASE* -Service of Process &Court Order
Date:           Monday, November 8, 2021 5:36:34 PM
Attachments:    URGENT CONFIDENTIAL- Plavbov Enterprises International Inc. v. www.olavbovrabbitars.aoo Case No. 21-cv-
                08932(VM)SEALED CASE -Service of Process Court Order.msa


Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
parlatodexter 1998@hotmail.com (parlatodexter 1998@hotmail.com)
<mailto:parlatodexter 1998@hotmail.com>
Subject: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v.
www.playboyrabbitars.app, Case No. 21-cv-08932(VM)*SEALED CASE* -Service of
Process &Court Order
       Case 1:21-cv-08932-VM Document 7 Filed 11/15/21 Page 27 of 29




From:           Microsoft Outlook
To:             idelltranter200159Calhotmail.com
Subject:        Relayed: URGENT &CONFIDENTIAL- Playboy Enterprises International, Inc. v, www.playboyrabbitars.app, Case
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